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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

ROWVAUGHN WELLS, individually and )
as Administratrix Ad Litem of the Estate of )
TYRE DEANDRE NICHOLS, deceased,             )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )   No. 2:23-cv-02224-MSN-atc
                                            )
THE CITY OF MEMPHIS, a municipality, )
et al.,                                     )
                                            )
        Defendants.                         )
______________________________________________________________________________

                        ORDER FOLLOWING HEARING
______________________________________________________________________________

       Before the Court by Orders of Reference are Plaintiff RowVaughn Wells’s First Motion

to Compel, filed initially on January 10, 2025 (ECF No. 279), and again as a corrected version

on January 14, 2025 (ECF No. 281) (“First Motion to Compel”); Wells’s Motion to Compel and

for Court Case Management, filed on March 5, 2025 (ECF No. 324) (“Second Motion to

Compel”); and Defendant the City of Memphis’s Motion to Modify the Third Amended

Scheduling Order Regarding Deadline for Mediation, filed on March 17, 2025 (ECF No. 338)

(“Motion to Extend the ADR Deadline”). 1

       A status conference on the Motions was held on March 19, 2025. (ECF No. 344.) For

the reasons discussed at the hearing, the Court ORDERS as follows:




1
 United States District Judge Mark S. Norris referred these Motions to the undersigned for
determination on January 11, 2025, March 10, 2025, and March 17, 2025, respectively. (ECF
Nos. 280, 332, 339.)
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       The City’s Motion to Extend the ADR Deadline (ECF No. 338) is GRANTED. The

parties’ new deadline to complete ADR with United States Magistrate Judge Jon A. York is now

June 15, 2025.

       With respect to Wells’s First and Second Motions to Compel (ECF Nos. 281, 324), the

parties are ORDERED to meet and confer in good faith as to any unresolved discovery issues

raised in the Motions. On or before April 9, 2025, the parties shall file a Joint Notice that either

(a) indicates that all issues raised in the First and Second Motions to Compel have been resolved

or (b) identifies the precise discovery requests that are still at issue, along with a summary of

each party’s position on the dispute. Should the Joint Notice indicate the persistence of a dispute

as to the issues raised in the First or Second Motions to Compel, the Court will hold a hearing on

the merits of those issues on April 11, 2025, at 2:00 p.m. via Microsoft Teams.

       SO ORDERED this 20th day of March, 2025.

                                               s/Annie T. Christoff
                                               ANNIE T. CHRISTOFF
                                               UNITED STATES MAGISTRATE JUDGE




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